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                          IN THE LINITED STATES DISTRICT COURT
                          FOR THE NORTI]ERN DISTzuCT OF TEXAS
                                   FORT WORTH DIVISION

UNITED STATES OF AMERICA

v                                                    No.4:23-CR- 168-O

ALEXANDER THOMAS (01)

                    PLEA AGREEMENT WITH WAIVER OF APPEAL

         Alexander Thomas ("the Defendant"), the Defendant's attorney, and the United

States of America ("the government"), agree as follows:

         1.    Rights of the Defendant: The Defendant understands that he has the

right:

               a.         to plead not guilty;
               b.         to have a trial by jury;
               c.         to have his guilt proven beyond a reasonable doubt;
               d.         to confront and cross-examine witnesses and to call witnesses in his
                          defense; and
               e.         against compelled self-incrimination.

         2.    Waiver of rights and plea of guilty          The Defendant waives these

rights, waives any defenses he may have based on any statute of limitations, and pleads

guilty to the offense alleged in Count One of the Information, charging Conspiracy to

Possess with Intent to Distribute a Controlled Substance in violation of 2l U.S.C. $ 846

(21 U.S.C. $ 8ai(a)(l) and (b)(l)(C)). The Defendant understands the nature and elements

of the crime to which he is pleading guilty, and agrees that the factual resume he has

signed is true and will be submitted as evidence.




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       3.      Sentence: The maximum penalties the Court can impose are as follows
               a.         imprisonment for a period not more than twenty (20) years;
               b.         a fine not to exceed $1,000,000, or both fine and imprisonment;
               c.         a term of supervised release of not less than 3 years (If the defendant
                          violates any condition of supervised release, the Court may revoke
                          such term ofsupervised release and require the defendant to serve an
                          additional period of confinement.);
               d.         a mandatory special assessment of $100;
               e.         forfeiture of items or proceeds of the offense; and
               f.         costs of incarceration and supervision.

       4.      Court's sentencing discretion and role of the Guidelines: The

Defendant understands that the sentence in this case will be imposed by the Court after

consideration of the United States Sentencing Guidelines. The guidelines are not

binding on the Court, but are advisory only. The Defendant has reviewed the guidelines

with his attorney, but understands no one can predict with certainty the outcome of the

Court's consideration of the guidelines in this case. The Defendant fully understands

that the actual sentence imposed (so long as it is within the statutory maximum) is solely

in the discretion of the Court, and he will not be allowed to withdraw his plea if his

sentence is higher than expected.

       5.      Immigration consequences: The defendant recognizes that pleading

guilty may have consequences with respect to the defendant's immigration status if the

defendant is not a citizen of the United States. Under federal law, a broad range of

crimes are removable offenses. The defendant understands this may include the offense

to which the defendant is pleading guilty, and for purposes of this plea agreement, the

defendant assumes the offense is a removable offense. Removal and other immigration



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consequences are the subject ofa separate proceeding, however, and the defendant

understands that no one, including the defendant's attorney or the district court, can

predict to a certainty the effect of the defendant's conviction on the defendant's

immigration status. The defendant nevertheless affirms that the defendant wants to plead

guilty regardless of any immigration consequences that the defendant's plea of guilty

may entail, even if the consequence is the defendant's automatic removal from the United

States.

          6.   Forfeiture of property: The defendant agrees not to contest, challenge, or

appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United

States of any property noted as subject to forfeiture in the indictment or information, or

seized or restrained in the investigation underlying the indictment or information,

including the forfeiture of any controlled substances, drug paraphernalia, currency,

firearms, and ammunition seized in the investigation of the offense, to include avariey_

of U.S. currency, aSCeY, rnedel ePX ", 9mm ealibe" ,',istol, bearing serial numhe/ '#=-r,

g++g8effia Weihrauch Windicator, model357, .357 magnum caliber revolver,
bearing serial number LL529Lla. The defendant agrees that this property is subject to

forfeiture under 21 U.S.C. $ 853(a). The defendant consents to entry of any orders or

declarations of forfeiture regarding such property and waives any requirements (including

notice of forfeiture) set out in 19 U.S.C. $g 1607-1609; l8 U.S.C. gg 981,983, and 985;

the Code of Federal Regulations; and Rules l1 and 32.2 of the Federal Rules of Criminal

Procedure. The defendant agrees to provide truthful information and evidence necessary

for the government to forfeit such property. The defendant agrees to hold the


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government, its officers, agents, and employees harmless from any claim whatsoever in

connection with the seizure, forfeifure, storage, or disposal of such property.

         7.    Defendant's agreement: The defendant shall give complete and truthful

information and/or testimony concerning the defendant's participation in the offense of

conviction. If the defendant were to testify, the defendant's testimony must be complete

and truthful. Upon demand, the defendant shall submit a personal financial statement

under oath and submit to interviews by the government and the U.S. Probation Office

regarding the defendant's capacity to satis$ any fines or restitution. The defendant

expressly authorizes the United States Attorney's Office to immediately obtain a credit

report on the defendant in order to evaluate the defendant's ability to satisff any financial

obligation imposed by the Court. The defendant fully understands that any financial

obligation imposed by the Court, including a restitution order and/or the implementation

of a fine, is due and payable immediately. In the event the Court imposes a schedule for

payment of restitution, the defendant agrees that such a schedule represents a minimum

payment obligation and does not preclude the U.S. Attorney's Office from pursuing any

other means by which to satisff the defendant's full and immediately enforceable

financial obligation. The defendant understands that the defendant has a continuing

obligation to pay in full as soon as possible any financial obligation imposed by the

Court.

         8.    Government's agreement: The government will not bring any

additional charges against the Defendant based upon the conduct underlying and related

to the Defendant's plea of guilty. The Government will move to dismiss, at sentencing,


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any remaining counts against the Defendant other than those to which the Defendant is

pleading guilty.

       9.       Violation of agreement: The Defendant understands that if he violates

any provision of this agreement, or if his guilty plea is vacated or withdrawn, the

government will be free from any obligations of the agreement and free to prosecute the

Defendant for all offenses of which it has knowledge. In such event, the Defendant

waives any objections based upon delay in prosecution. If the plea is vacated or

withdrawn for any reason other than a finding that it was involuntary, the Defendant also

waives objection to the use against him of any information or statements he has provided

to the goverrrment, and any resulting leads.

        10. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what

sentence the Court will impose.

        1   1. Representation of counsel: The Defendant has thoroughly reviewed all
legal and factual aspects of this case with his lawyer and is fully satisfied with that

lawyer's legal representation. The Defendant has received from his lawyer explanations

satisfactory to him concerning each paragraph of this plea agreement, each of his rights

affected by this agreement, and the alternatives available to him other than entering into

this agreement. Because he concedes that he is guilty, and after conferring with his

lawyer, the Defendant has concluded that it is in his best interest to enter into this plea

agreement and all its terms, rather than to proceed to trial in this case.


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        12. Waiver of right to appeal or otherwise challenge sentence: The
Defendant waives his rights, conferred by 28 U.S.C. S 1291 and 18 U.S.C. 53142,to

appeal the conviction, sentence, fine, order of restitution, and order of forfeiture. The

Defendant further waives his right to contest his conviction, sentence, fine, order of

restitution, and order of forfeiture in any collateral proceeding, including proceedings

under 28 U.S.C. 5 2241 and 28 U.S.C. S 2255. The Defendant, however, reserves the

rights to bring (a) a direct appeal of (i) a sentence exceeding the statutory maximum

punishment, or (ii) an arithmetic error at sentencing; (b) to challenge the voluntariness of

this plea of guilty or this waiver; and (c) to bring a claim of ineffective assistance of

counsel.

        13. Limitation of Agreement: This agreement is limited to the United States
Attorney's Office for the Northern District of Texas and does not bind any other federal,

state, or local prosecuting authorities, nor does it prohibit any civil or administrative

proceeding against the Defendant or any property.




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        14. Entirety of agreement: This document is a complete statement of the
parties' agreement and may not be modified unless the modification is in writing and

signed by all parties.

AGREED TO AND SIGNED this                6 TuvY ,2023.
                                   -fo^r
                                                 LEIGHA SIMONTON
                                                 UNITED STATES ATTORNEY


                                                 @?zz:.
                                                 LEVI THOMAS
Defendant                                        Assistant United States Attorney
                                                 Texas State Bar No. 24083963
                                                 801 Cherry Street, Suite 1700
                                                 Fort Worth, Texas 76102
                                                 Telephone: 817-252-5200
                                                 Facsimile: 817-252-5455
                                                 Emai I : Levi.thomas@usdoj gov
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          for Defendant                     {tr Deputy Criminal
                                                         WI
                                                                Chief


       I have read or had read to me this Plea Agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.

                                                       rl,cd 7 Tttz 9
ALEXANDER                                       Date
Defendant


        I am the defendant's counsel. I have carefully reviewed every part of this Plea
Agreement with the defendant. To my knowledge and belief, my client's decision to
enter into this Plea           is an informed and voluntary one.

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HARRYfrHITE
                                                   Jrr.r* ''1, 'Lct t' j
                                                Date
Attorney for Defendant



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